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                                  No. 25-1550


                 UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT


          NOVARTIS AG; NOVARTIS PHARMACEUTICALS CORPORATION,
                                                  Plaintiffs-Appellees,

                                        v.
       NOVADOZ PHARMACEUTICALS LLC; MSN PHARMACEUTICALS INC.;
                 MSN LABORATORIES PRIVATE LIMITED,
                                              Defendants-Appellants.


   Appeal from the United States District Court for the District of New Jersey,
                    No. 2:25-cv-00849, Hon. Evelyn Padin


                  PLAINTIFFS-APPELLEES’ RESPONSE
                      TO MOTION TO EXPEDITE


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APRIL 11, 2025
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      Despite having moved to expedite this appeal, defendants-appellants

(collectively, “MSN”) subsequently sought reconsideration in the district court, thus

suspending the effectiveness of MSN’s notice of appeal while that request is

pending. MSN’s expedition motion is thus premature, and Novartis responds to

ensure that this Court has a fuller picture of the circumstances and current status of

the parties’ multi-forum dispute.

      1.      This case is about Novartis’s blockbuster heart-failure medication and

current top-selling drug ENTRESTO®.         D.N.J.Dkt.4-3 (¶25).     ENTRESTO®’s

success is driven by Novartis’s efforts over nearly a decade to educate patients and

healthcare providers about the drug’s lifechanging capabilities and to build a brand

consumers know they can trust.       Id. (¶30).     Those efforts include Novartis’s

exclusive use of the same ENTRESTO® tablet designs for nearly a decade, billions

of dollars in sales of ENTRESTO®, millions of dollars spent on marketing that

features images of the ENTRESTO® tablets, and the distribution of millions of

sample tablets. Id. (¶¶14, 20, 23, 25-26, 30, 34-44). In this way, Novartis has

cultivated strong trade dress rights in the overall look and feel of each of the three

ENTRESTO® doses, as well as the combined trio of doses. Id. Novartis’s efforts

have trained patients and healthcare providers alike to associate the combinations of

size, shape, and color that comprise the ENTRESTO® trade dresses with the

goodwill Novartis has cultivated under the ENTRESTO® brand. Id.
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         MSN, operating under the brand “Novadoz,” hopes to capitalize on Novartis’s

hard-earned goodwill by marketing generic sacubitril/valsartan tablets that the

district court found are “strikingly similar” to the ENTRESTO® tablets that

consumers have learned to trust and associate with Novartis and its ENTRESTO®

brand:




D.N.J.Dkt.32 at 13. MSN (as its executive admitted) deliberately “chose colors that

reference the colors used for Entresto pills.” D.N.J.Dkt.13-7 (¶10). Yet contrary to

MSN’s suggestion (MSN.Mot.7-8), FDA guidelines permit MSN to choose other

combinations of color, shape, and size for its tablets, and other companies have

chosen different combinations for the generic versions of ENTRESTO® that they

hope to market. D.N.J.Dkt.42 at 31; see D.N.J.Dkt.13-8 (MSN filing pointing to

approved generics with different colors or shapes). There is thus no basis for MSN’s

assertions that the injunction here against MSN’s specific copycat tablet designs will

deprive the public of access to other non-infringing generic versions of

ENTRESTO®. MSN.Mot.7.



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      2.      Novartis brought this suit against MSN for trade dress and trademark

infringement to protect itself and consumers from the inevitable source confusion

MSN’s generic products will cause. As Novartis told the district court, that source

confusion would irreparably harm Novartis by putting Novartis’s reputation and

consumer goodwill at the mercy of potential quality control and other issues with

MSN’s generic tablets. D.N.J.Dkt.4-5 (¶¶22-32). Novartis sought a preliminary

injunction to avoid irreparable harm and to protect the public interest by preserving

the status quo: no generic versions of ENTRESTO® are (or ever have been) on the

market.

      The district court granted the preliminary injunction, finding Novartis is likely

to succeed in proving trade dress infringement; Novartis would be irreparably

harmed were MSN to launch while this litigation is pending; and injunctive relief

accords with the public interest. D.N.J.Dkt.32 at 5-18. In doing so, the district court

found that any harm to MSN from a preliminary injunction would be self-inflicted

because “MSN could have just picked different colors. Or different shapes. Or

different sizes.” Id. at 9, 18; Novartis Consumer Health, Inc. v. Johnson & Johnson-

Merck Consumer Pharms. Co., 290 F.3d 578, 596 (3d Cir. 2002) (recognizing harm

“discounted” in such circumstances).

      3.      Elsewhere, MSN has been challenging Novartis’s patent rights in

litigation related to MSN’s attempts to market its generic versions of ENTRESTO®



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before the end of Novartis’s patent protection and related marketing exclusivity.

Following a successful appeal by Novartis to the Federal Circuit, one piece of that

patent litigation resulted in a final judgment in favor of Novartis, including an order

setting the effective date of any FDA approval for MSN to market generic versions

of ENTRESTO® to no earlier than July 16, 2025.                       In re Entresto

(Sacubitril/Valsartan) Pat. Litig., No. 19-cv-02053 (D. Del. Apr. 1, 2025), Dkt.508.

      MSN thus has no first-mover advantage. Contra MSN.Mot.5-6. As the

injunction granted against MSN by the Federal Circuit made clear, neither MSN nor

any other generic, including Noratech, has a right to sell generic ENTRESTO®

before July 16, 2025. In re Entresto (Sacubitril/Valsartan) Pat. Litig., No. 23-2218

(Fed. Cir.), Dkt.65, Dkt.73, Dkt.127; contra MSN.Mot.5. Yet unlike other generic

manufacturers that long ago recognized Novartis’s valid patent rights and related

marketing exclusivity, MSN continues to raise a series of baseless attacks on

Novartis’s rights to try to reopen that post-appeal final judgment in the patent case

and launch MSN’s products sooner. MSN.Mot.5-7.1 MSN is therefore the one that

has created the supposed “go/no go” posture that it wrongly insists warrants

expedition. MSN.Mot.5-6.



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       MSN’s motion twice invokes a district court’s denial of an injunction in the
patent case but omits that, on appeal in the same case, the Federal Circuit
immediately granted the injunction that the district court had denied. MSN.Mot.4-5
& n.1.

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      Because MSN’s post-judgment challenges are as-yet-unresolved, however,

the trade dress injunction here remains critical. MSN’s prior statements show its

intent to launch its generic during any potential window of time that MSN is

unrestrained by a court order. E.g., D.N.J.Dkt.32 at 3 (MSN’s counsel indicating

intent to launch if there were no court restraint during one potential window).

      4.      In this trade dress case, after filing a notice of appeal, MSN moved in

the district court for a stay of the preliminary injunction pending appeal.

D.N.J.Dkt.37. During the parties’ briefing on that motion, the district court issued

an order sua sponte requesting both parties to submit additional briefing “under the

reconsideration standard.” D.N.J.Dkt.43. On April 7, 2025, just 21 days after the

district court’s preliminary injunction order, MSN filed a response to the district

court’s order expressly asking that court to “reconsider and vacate” its order.

D.N.J.Dkt.45 at 1. MSN told the district court to treat MSN’s April 7th filing “as a

motion for reconsideration,” or alternatively to treat its earlier stay motion “as

including a timely motion for reconsideration.” Id. at 8 n.5. Novartis responded on

April 9, 2025. D.N.J.Dkt.46. As of the filing of this response to MSN’s motion to

expedite its appeal, both MSN’s stay motion and the parties’ briefing on

reconsideration remain pending before the district court.

      5.      In these circumstances, setting a schedule for this appeal would be

premature, as jurisdiction over the preliminary injunction order currently remains in



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the district court. MSN’s request for reconsideration within 28 days of the district

court’s order entering a preliminary injunction “suspends the effect of any

previously-filed notice of appeal until the entry of the order disposing of ” MSN’s

request. 16A Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure

§3950.4 (5th ed. 2024). As this Court has explained in the specific context of a

preliminary injunction appeal, “a timely motion to reconsider will preclude the filing

of an effective notice of appeal.” Ortho Pharm. Corp. v. Amgen, Inc., 887 F.2d 460,

463 (3d Cir. 1989). Whether MSN’s reconsideration request is treated “ ‘as the

functional equivalent of a Rule 59 motion’ ” or a Rule 60 motion, its request was

made within the 28-day time period prescribed by Rule 59 and so delays the

effectiveness of MSN’s notice of appeal under the plain terms of Federal Rule of

Appellate Procedure 4(a)(4). Wiest v. Lynch, 710 F.3d 121, 126-27 (3d Cir. 2017)

(citation omitted); see Fed. R. Civ. P. 54(a) (defining “judgment” to include “any

order from which an appeal lies”).

      Assuming MSN’s notice of appeal nevertheless becomes effective in time for

this Court to implement MSN’s proposed briefing schedule, and despite the many

unsupported and disputed factual assertions in MSN’s expedition motion, Novartis

does not oppose MSN’s proposed briefing schedule—as long as the district court’s

preliminary injunction remains in force throughout this appeal.                If these

circumstances were to change, however, a different schedule may be needed to



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protect against the many harms to the public and Novartis that would occur were

MSN allowed to disrupt the status quo by launching its “strikingly similar” generic

versions of ENTRESTO® during the pendency of this appeal.

Dated: April 11, 2025                    Respectfully submitted,

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      Pursuant to Local Appellate Rules 28.3(d) and 46.1(e), I hereby certify that I

am an active member in good standing of the Bar of the United States Court of

Appeals for the Third Circuit.

Dated: April 11, 2025                               /s/ Deanne E. Maynard
                                                        Deanne E. Maynard
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                             CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of the

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